                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF NORTH CAROLINA
                                   1:19-cv-358

    MAJOR BOYD WHITLEY,

                        Plaintiff,

    v.                                            PLAINTIFF’S CONSENT MOTION
                                                    FOR SHORT EXTENSION OF
    SHERIFF VAN SHAW, CAPTAIN M.                   PRETRIAL FILING DEADLINES
    NESBITT, LIEUTENANT W.
    WALLACE,

                        Defendants

         NOW COMES Plaintiff’s undersigned counsel 1 pursuant to Rule 6(b) of the Federal

Rules of Civil Procedure, and moves the Court for a short extension of the schedule within

which various pretrial filings are due. Such schedule was originally set by the Court’s

Notice of Hearing entered September 20, 2021 (Doc. 37).

         In support of this Motion, Plaintiff shows as follows:

         1.     On September 20, 2021, this Court set this matter for jury trial on March 7,

2022 and set the following pretrial filing deadlines:

                a. Pretrial disclosures due February 4, 2022.




1
  Plaintiff has not yet consented to the undersigned serving as his counsel, but the
undersigned is making reasonable efforts to obtain Plaintiff’s consent. For example, the
individual who handles legal visitation at Plaintiff’s current correctional institution was
unavailable to speak with when contacted today and the undersigned’s office was directed
to try again on Friday, February 11, 2022. The undersigned is attempting contact with
Plaintiff via telephone, videoconference, and in-person visitation, all of which require some
cooperation from his current correctional institution.




         Case 1:19-cv-00358-TDS-JLW Document 47 Filed 02/10/22 Page 1 of 5
              b. Motions in limine due February 11, 2022.

              c. Responses to motions in limine and objections to pretrial disclosures due

                  February 18, 2022.

              d. Trial brief and jury instructions due February 14, 2022.

       2.     Defendants timely filed their pretrial disclosures on February 4, 2022 (Doc.

44).

       3.     Plaintiff, proceeding pro se, has not yet filed his pretrial disclosures and it is

unclear to the undersigned whether they may be on their way to the Court in the mail.

       4.     On Tuesday, February 8, 2022, at 10:00 a.m., a pretrial settlement conference

was held without the involvement of the undersigned. (Doc. 40; Minute Entry 2/8/2022).

       5.     On Tuesday, February 8, 2022 at 3:27 p.m., the Clerk of Court emailed the

undersigned to request voluntary representation of Plaintiff, pro bono, through the Pro

Bono Representation Program of the Middle District of North Carolina.

       6.     After clearing conflicts, the undersigned informed the Clerk of Court on

Wednesday, February 9, 2022 at 12:46 p.m. of his willingness to serve as Plaintiff’s

attorney for purposes of trial.

       7.     Also on Wednesday, February 9, 2022 at 10:00 a.m. the undersigned emailed

Defendants’ counsel to inquire about a short extension of time to permit preparation of the

appropriate pretrial filings on Plaintiff’s behalf.




       Case 1:19-cv-00358-TDS-JLW Document 47 Filed 02/10/22 Page 2 of 5
       8.     The undersigned and Defendants’ counsel met via videoconference today,

Thursday, February 10, 2022 beginning at 4:00 p.m. to discuss pretrial matters, case status,

and the requested extension of time.

       9.     Defendants’ counsel has consented to the short extensions of time set forth

below. The intent of the undersigned (and his understanding of the intent of all counsel) is

to permit adequate time for counsel to prepare pretrial filings for their respective clients

without undue prejudice to any party, while also permitting the Court sufficient time to

review the parties’ submissions before the final pretrial conference set for Wednesday,

February 23, 2022 at 10:00 a.m. (Doc. 42).

       10.    As the undersigned had not been contacted by the Clerk of Court at the time

Plaintiff’s pretrial disclosures were due, the undersigned believes that “excusable neglect”

within the meaning of Federal Rule of Civil Procedure 6(b)(1)(B) exists. See also Fed. R.

Civ. P. 1 (requiring construction of the Rules of Civil Procedure to secure justice in every

action and proceeding).

       11.    The undersigned in good faith requires additional time to prepare Plaintiff’s

pretrial submissions.

       WHEREFORE, Plaintiff’s counsel respectfully requests that the Court enter an

order extending the time for pretrial submissions so that they are due on the following

schedule:




      Case 1:19-cv-00358-TDS-JLW Document 47 Filed 02/10/22 Page 3 of 5
          a.     Wednesday, February 16, 2022

                  i. Plaintiff’s pretrial disclosures due.

                 ii. Motions in limine due.

                iii. Agreed (see Doc. 37) or separate jury instructions due.

                 iv. Trial briefs due.

          b. Monday, February 21, 2022

                  i. Objections to pretrial disclosures due.

                 ii. Responses to motions in limine due.


    Respectfully submitted, this the 10th day of February, 2022.

                                                      /s/ Daniel F. E. Smith
                                                      Daniel F. E. Smith
                                                        NC State Bar No.: 41601
                                                        dsmith@brookspierce.com
                                               Attorney for Plaintiff Pursuant to
                                               Pro Bono Representation Program

OF COUNSEL:

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    Case 1:19-cv-00358-TDS-JLW Document 47 Filed 02/10/22 Page 4 of 5
                             CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing PLAINTIFF’S CONSENT

MOTION FOR SHORT EXTENSION OF PRETRIAL FILING DEADLINES with

the Clerk of Court using the CM/ECF system, which sends notification of such filing to all

counsel of record so registered for this case.



       This the 10th day of February, 2022.

                                                       /s/ Daniel F. E. Smith
                                                       Daniel F. E. Smith




      Case 1:19-cv-00358-TDS-JLW Document 47 Filed 02/10/22 Page 5 of 5
